Case 1:16-cv-05068-SN Document 36

Edward A. Steinberg, Esq.
LEAV & STEINBERG, LLP
75 Broad Street, Suite 1601
New York, New York 10004
Tel. No.: (212) 766-5222
Fax No.: (212) 693-2377

Email: eas@|striallaw.com
Attorneys for Plaintiff- SON] M. ASTORGA

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Filed 01/18/18 Page 1 of 2

 

x
SONJI M. ASTORGA,
Plaintiff,
-against-
ALLSTATE OJL RECOVERY, CO. and
RICHARD J. WOODHAM,
Defendants.
x

 

DOCKET No.: 16-cv-5068

NOTICE OF MOTION
FOR PARTIAL
SUMMARY JUDGMENT
ON THE ISSUE OF
LIABILITY

Referred to the Honorable
Sarah Netburn, United
States Magistrate Judge

PLEASE TAKE NOTICE, that upon the annexed affirmation of EDWARD A.

STEINBERG, ESQ. duly affirmed on December 13, 2017, together with the exhibits annexed

thereto, and upon all the pleadings and proceedings heretofore had herein, the undersigned will

move this Court located at Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street,

New York, New York 10007 as soon as counsel can be heard for an Order, pursuant to Rule 56

of the Federal Rules of Civil Procedure:

1) Granting plaintiff SONJI M. ASTORGA partial summary judgment on the issue of

liability as against the defendants ALLSTATE OIL RECOVERY, CO. and

RICHARD J. WOODHAM;

2) Setting this matter down for a trial on the issue of damages only;

3) Such other and further relief, which to this Court seems just and proper.

 

 

 

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PLEASE TAKE FURTHER NOTICE, that answering affidavits, if any, are to be

served upon the undersigned by January 15, 2018, as per the teleconference conducted and

 

subsequent Order dated September 5, 2017.

Dated: New York, New York : A
December 13, 2017 és a iy

 
       

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Edward A. Steinber é Esq.

LEAV & STE RG, LLP

75 Broad Street, Suite 1601

New York, New York 10004 :
Tel. No.: (212) 766-5222 '
Fax No.: (212) 693-2377
File No.: 155080

Email: eas@\striallaw.com

To:

Randy S. Faust, Esq. (RSF-2011)

FAUST GOETZ SCHENKER & BLEE, LLP
Attorneys for Defendants

Two Rector Street, 20th Floor

New. York, New York 10006

Tel. No.: (212) 363-6900

Fax No.: (212) 363-1090

File No.: 14296-CHB

Email: rfaust@fgsb.com

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